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                                                                        1   GARY E. SCHNITZER, ESQ.
                                                                            Nevada Bar No. 395
                                                                        2   KRAVITZ, SCHNITZER & JOHNSON, CHTD.
                                                                            8985 South Eastern Avenue, Suite 200
                                                                        3   Las Vegas, Nevada 89123
                                                                            (702) 222-4142 Direct
                                                                        4   (702) 362-2203 Facsimile
                                                                            Email: gschnitzer@ksjattorneys.com
                                                                        5   Attorney for Defendant
                                                                            LexisNexis Risk Solutions
                                                                        6

                                                                        7
                                                                                                         UNITED STATES DISTRICT COURT
                                                                        8
                                                                                                                 DISTRICT OF NEVADA
                                                                        9
                                                                       10   LARRY NORMAN,
                                                                                                                                 Case No.: 2:20-cv-01017-RFB-BNW
KRAVITZ, SCHNITZER & JOHNSON, CHTD.




                                                                       11
                                                                                                           Plaintiff,
                                                                       12
                                                                            vs.
                                                                       13                                                        STIPULATION AND ORDER TO
                                      8985 S. Eastern Ave., Ste. 200
                                        Las Vegas, Nevada 89123




                                                                                                                                 EXTEND TIME TO ANSWER OR
                                                                       14   EQUIFAX INFORMATION SERVICES, LLC                    OTHERWISE PLEAD
                                             (702) 362-6666




                                                                            and LEXISNEXIS RISK SOLUTIONS, INC.
                                                                       15                                                        (FIRST REQUEST)
                                                                       16
                                                                                                           Defendants.
                                                                       17

                                                                       18
                                                                                    Pursuant to Local Rule IA 6-1 of the United States District Court for the District of Nevada,
                                                                       19
                                                                            Defendant LexisNexis Risk Solutions (“Defendant”) and Plaintiff Larry Norman (“Plaintiff”), by
                                                                       20
                                                                            and through their respective counsel, hereby stipulate as follows:
                                                                       21
                                                                                    1.      Plaintiff filed his Complaint on June 8, 2020;
                                                                       22
                                                                                    2.      Defendant was served with the Complaint on June 17, 2020;
                                                                       23
                                                                                    3.      Defendant’s deadline to answer or respond to Plaintiff’s Complaint is July 8, 2020;
                                                                       24
                                                                                    4.      Defendant has requested, and Plaintiff has consented to, an additional fourteen (14)
                                                                       25
                                                                            days for Defendant to file an Answer or otherwise respond to the Complaint;
                                                                       26
                                                                                    5.      An additional fourteen (14) days for Defendant to answer or respond to Plaintiff’s
                                                                       27

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                                                                        1   Complaint will not alter the date of any event or deadline already fixed by the Court or prejudice

                                                                        2   any party;

                                                                        3           6.      Good cause exists to grant the stipulation as the additional fourteen (14) days are

                                                                        4   needed to allow Defendant to complete its investigation of Plaintiff’s allegations, including a

                                                                        5   review of all relevant documents;

                                                                        6           7.      Pursuant to Civil Local Rules 6.2 and 7.1, Plaintiff and Defendant agree that

                                                                        7   Defendant shall have up to and including July 22, 2020 to file a responsive pleading to Plaintiff’s

                                                                        8   Complaint.

                                                                        9           8.      WHEREAS, this is the first request by the Parties seeking such extension;
                                                                       10
KRAVITZ, SCHNITZER & JOHNSON, CHTD.




                                                                       11           THEREFORE, in consideration of the foregoing, and for good cause, IT IS HEREBY

                                                                       12   STIPULATED AND AGREED by and between the Parties as follows:

                                                                       13   //
                                      8985 S. Eastern Ave., Ste. 200
                                        Las Vegas, Nevada 89123




                                                                       14   //
                                             (702) 362-6666




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                                                                        1           Defendant LEXISNEXIS RISK SOLUTIONS shall have up to and including July 22, 2020

                                                                        2   to file an Answer or Otherwise Plead to Plaintiff’s Complaint.

                                                                        3

                                                                        4           IT IS SO STIPULATED.

                                                                        5           DATED this 7th day of July, 2020.

                                                                        6
                                                                             s/ Michael Kind                                    /s/ Gary E. Schnitzer
                                                                        7
                                                                             Michel Kind, Esq., SBN 13903                       Gary E. Schnitzer, Esq., SBN 395
                                                                        8    KIND LAW                                           KRAVITZ, SCHNITZER
                                                                             8860 S. Maryland Pkwy., Suite 106                   & JOHNSON, CHTD.
                                                                        9    Las Vegas, NV 89123                                8985 South Eastern Avenue, Suite 200
                                                                             (702) 337-2322
                                                                                                                                Las Vegas, NV 89123
                                                                       10                                                       Telephone: (702) 222-4142
                                                                             George Haines, Esq., SBN 9411
KRAVITZ, SCHNITZER & JOHNSON, CHTD.




                                                                       11                                                       Facsimile: (702) 362-2203
                                                                             FREEDOM LAW FIRM
                                                                                                                                Email: gschnitzer@ksjattorneys.com
                                                                             8985 S. Eastern Ave., Suite 350
                                                                       12                                                       Attorneys for Defendant
                                                                             Las Vegas, NV 89123
                                                                                                                                LexisNexis Risk Solutions
                                                                       13    Telephone: (702) 880-5554
                                      8985 S. Eastern Ave., Ste. 200




                                                                             Email: ghaines@freedomlawteam.com
                                        Las Vegas, Nevada 89123




                                                                       14    Attorneys for Plaintiff
                                             (702) 362-6666




                                                                             Larry Norman
                                                                       15

                                                                       16           IT IS ORDERED.
                                                                       17
                                                                                                8th day of July, 2020.
                                                                                    DATED this _____
                                                                       18

                                                                       19
                                                                                                                        _______________________________
                                                                       20                                               United States Magistrate Judge
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